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                                        Slip Op. 23-30

                   UNITED STATES COURT OF INTERNATIONAL TRADE


JA SOLAR INTERNATIONAL LIMITED,
and JA SOLAR USA INC.,
                        Plaintiffs,
                                                           Before: Leo M. Gordon, Judge
              v.
                                                           Court No. 21-00514
UNITED STATES,
                        Defendant.


                                         JUDGMENT

       This action having been submitted for decision, and the court, after due deliberation,

having rendered an opinion; now in conformity with that opinion, it is hereby

       ORDERED that the Final Results of Redetermination Pursuant to Court Remand,

ECF No. 52-1 (Remand Results), regarding the final results of the fifth administrative

review of the antidumping duty (“AD”) order covering crystalline silicon photovoltaic

products (solar products) from Taiwan, Certain Crystalline Silicon Photovoltaic Products

from Taiwan, 86 Fed. Reg. 49,509 (Dep’t of Commerce Sept. 3, 2021) (final results and

partial rescission of AD review, and final determ. of no shipments) and the accompanying

Issues and Decision Memorandum, A-583-853 (Aug. 27, 2021), available at

https://access.trade.gov/Resources/frn/summary/taiwan/2021-19052-1.pdf (last visited

this date), are sustained; and it is further
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      ORDERED that the subject entries enjoined in this action, see ECF No. 11

(order granting motion for preliminary injunction), must be liquidated in accordance with

the final court decision, as provided in Section 516A(e) of the Tariff Act of 1930,

as amended, 19 U.S.C. § 1516a(e) (2018).




                                                              /s/ Leo M. Gordon
                                                           Judge Leo M. Gordon



Dated: March 10, 2023
       New York, New York
